AO245B [Rev. 12/03] Judgment in a Criminal Case
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                                            United States District Court
                                                  Eastern District of Michigan
                  United States of America                          JUDGMENT IN A CRIMINAL CASE
                             V.
                  NADA NADIM PROUTY                                 Case Number: 07CR20156-1
                                                                    USM Number: 42116-039

                                                                    Thomas Cramner, Thomas Shapiro
                                                                    Defendant's Attorney


THE DEFENDANT:
    Pleaded guilty to count(s) 1, 2 and 3 of 2nd SS Information.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                      Offense Ended       Count
See page 2 for details.


  The defendant is sentenced as provided in pages 2 through 3 of this judgment. This sentence is imposed pursuant to the
Sentencing Reform Act of 1984

   It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                    May 13, 2008
                                                                    Date of Imposition of Judgment




                                                                  s/Avern Cohn
                                                                 _________________________________________
                                                                  United States District Judge



                                                                    May 13, 2008
                                                                    Date Signed
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                                            ADDITIONAL COUNTS OF CONVICTION

Title & Section                     Nature of Offense                         Offense Ended      Count
18 USC § 371                        Conspiracy to Defraud the United States   11/13/2007         1
18 USC § 1030                       Unauthorized Computer Access              11/13/2007         2
18 USC § 1425                       Naturalization Fraud                      11/13/2007         3
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                                                  CRIMINAL MONETARY PENALTIES
                             Assessment                      Fine                                 Restitution
TOTALS:                      $ 225.00                        $ 750.00                             $ 0.00

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee                                                         Total Loss*              Restitution Priority or
                                                                                                 Ordered Percentage
    TOTALS:                                                  $ 0.00                  $ 0.00




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
